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                           EXHIBIT B
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  Via Electronic Mail

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          Re:       Continental Cas. Co. v. AWP USA Inc., et al.
                    Case No. 3:19-CV-0066 1-MHL
                    Eastern District of Virginia (Richmond Division)
                    Document Production in response to Continental's First Set of Requests for
                    Production

  Dear Counsel:

         We write in response to your October 26, 2021 letter regarding the timing of the
  Defendants' document production in connection with Continental's First Set of Requests for
  Production.

          Continental's letter attempts to create the inaccurate impression that the Defendants are
  improperly delaying the production of documents that can be readily turned over. Both you and
  we know that is false. As an initial matter, Continental has propounded 19 requests for
  production that seek an unquantifiable number of documents that span numerous years,
  custodians, and subject matters. Yet, Continental feigns surprise that in the month-and-a-half
  since serving its answers and objections to the discovery, Defendants have not yet compiled all
  of these materials, reviewed them for privilege, redacted them as necessary, and created a
  privilege log. The suggestion that this is an ordinate amount of time relative to the documents
  requested rings hollow.

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  October 29, 2021
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          Moreover, despite referencing the parties' prior meet and confer call, Continental's letter
  conveniently ignores the substance of that discussion and the unique issues beyond the
  Defendants' control that affect the timing of this production. As the Defendants addressed in
  detail in their answers and our call, there are numerous privileges and confidentiality protections
  associated with many of the requested documents, and the Defendants do not have unilateral
  discretion to waive those privileges or produce those materials. Examples of these documents
  include the marketing agreements between the Defendants and their partners as well as the legal
  invoices associated with the underlying class action lawsuits. The marketing agreements cannot
  be disclosed without partner permission and with the redactions necessary to protect
  commercially sensitive information that is irrelevant to this case. Similarly, the legal invoices
  are protected by the attorney-client, work-product, and joint defense privileges that belong to the
  Defendants' partners and are not the Defendants' to waive.

           As you are aware, the Defendants have contacted their partners regarding these issues and
  are in the process of securing permission to produce the requested documents together with the
  necessary redactions. The Defendants have been diligent in communicating with their partners
  on these issues and intend to produce all of the requested documents as soon as they have the
  ability to do so.

           Finally, Continental's letter asks the Defendants to (1) advise when they will make their
  initial production, and (2) confirm that the Defendants will produce all responsive documents no
  later than November 15, 2021. As to the first inquiry, the Defendants intend to begin their
  rolling production as soon as reasonably possible. On the second inquiry, the Defendants are not
  able to commit to a date for a full production for all of the reasons articulated above.
  Continental's artificial deadline bears no relationship to the circumstances and issues that the
  Defendants and their partners must address. The Defendants can commit to diligently gathering
  responsive documents and seeking the necessary permission from their partners where other
  privileges and protections are at issue.

         If you have any questions or would like to discuss further, please do not hesitate to reach
  out.

                                               Since)
                                                    rely,




                                                 ichael S. T'vine
                                               Cary D. Stekiof

  cc:    Allianz Global Assistance
